                Case 2:24-cv-00444-BJR Document 2 Filed 04/03/24 Page 1 of 1




                                 UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
                                     OFFICE OF THE CLERK
                                          AT SEATTLE



RAVI SUBRAMANIAN
CLERK OF COURT
700 STEWART ST.
SEATTLE, WA 98101

April 3, 2024


SALOM ET AL V. NATIONSTAR MORTGAGE LLC ET AL
United States District Court Case No.: 2:24−cv−00444−MJP
Superior/District Court Case No.:      24−2−04553−8−sea

Dear Counsel or Pro Se Party:

The above entitled action was removed to the United States District Court from the Superior/District Court on
April 2, 2024. This case has been assigned to the Honorable Marsha J. Pechman.

Your attention is directed to the provisions of Rule 38(b) and 81(c) of the Federal Rules of Civil Procedure,
pertaining to the filing of demands for trial by jury in Federal Court.

You are also advised that Local Civil Rule 101(c) states that each petitioner for removal shall, within fourteen
days of filing the notice of removal, file with the Clerk of this Court copies of all additional records and
proceedings in the state court that were not already filed with the Notice of Removal, together with
verification of counsel that they are true and complete copies of all the records and proceedings in the state
court proceeding. The copies need not be allowed as a cost item under 28 U.S.C. § 1920(4) unless certification
is required after an opposing party challenges the accuracy of the copies. Records and proceedings in the
state court, filed with the notice of removal, need not be refiled.

Pursuant to Local Civil Rule 101(d), if a motion is pending and undecided in the state court at the time of
removal, it will not be considered unless and until the moving party files and notes the motion on this Court's
calendar in accordance with Local Civil Rule 7(d).

The Western District of Washington mandates electronic case filing (e−filing) and electronic service for all
attorneys practicing in this district, unless otherwise specifically ordered by the Court or directed by the Clerk.
Pro se filers are exempt from this mandate. If you are an attorney who was registered to e−file with this Court
prior to January 2020 and you do not currently have e−filing access, review the NextGen Transition page to
re−institute your e−filing privileges. If you are an attorney who was admitted prior to January 2004 but never
registered to e−file with this Court, review the Attorney CM/ECF Registration instructions on Your CM/ECF
Account page. E−filing procedures are available on our website. We also offer a two−hour hands−on training
class in e−filing. If you have any questions about e−filing, registration, or training, please call the ECF Help
Desk at 1−866−323−9293, option 2.

Thank you for your cooperation.

Sincerely,



Ravi Subramanian, Clerk of Court

 s/Katharine Sowers
 Deputy Clerk
